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AND MEMORANDUM IN SUPPORT

 

 

 

 

 

 

 

 

 

 

 

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I. NOTICE OF MOTION
PLEASE TAKE NOTICE that on [ date ]

 

at [ time ] , at [ courtroom number and address ]
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before the Honorable []`udge ’s name ]

 

I will, and hereby do, move for an order granting this Motion [ type of motzon ]

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The motion will be based on this Notice and Motion, the Memorandum of Points and Authorities

below, the Declaration(S) of [names of people who wrote declarations]

 

and the [Proposed] Order.

II. ISSUES TO BE DECIDED

[Write each question or request that you are asking the Court to decide in this Motion. There may be
one issue, or more. See the Instructionsfor examples. ]

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III.MEMORANDUM

A. Statement of Facts

[Write the facts relevant to the Motion Add more pages as needed At the end of each sentence, write
where evidence of that fact can be found See the Instructzons for more detail ]

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B. Argument
[You should have an argument section for each issue that you listed on page 2. Explain why the
Court should rule in your favor on each issue. Provide facts and case law/statutes (ifyou have any).
Add more pages as needed ]

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UNITED STA`TES DISTRICT COURT
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DECLARATION OF [ name of person signing]

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Plaintiff,

VS.

 

 

DATE:
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JUDGE:
Hon.

 

 

 

 

Defendant.

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[In the first paragraph explain who you are. ]f you are the Plaintz]j'or Defendant, say so here. b” you
are a witness, say how you are connected to the party or events in this case.]

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2. I have personal knowledge of all facts stated in this declaration, and if called to testify, I

could and Would testify competently thereto.

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[Write each fact in a separate, numbered paragraph, starting with 3. Y ou may only write about facts
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to include documents, see the Instructions. Make' copies of this page if you need more space.]

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I declare under penalty of perjury under the laws of the United States that the foregoing is true

and correct.

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NOTICE TO VACATE
ILLEGAL ENCAMPMENT

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THE C|TY HAS DEE|V|ED TH|S SlTE UN|NHAB|TABLE AND ALL PERSONS
ARE DlRECTED TO VACATE TH|S SlTE AND RE|V|OVE ANY PERSONAL
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ANY PROPERTY LEFT AT I~TE;AT THE Tl|V|E OF CLEANUP WlLL
BE RE|VlOVED FRONl THE SlTE AND STORED BY PUBL|C WORKS.
PROPERTY THAT IS UNSAFE OR HAZARDOUS TO STORE WlLL BE

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IF YOU HAVE ANY O_UEST|ONS AN D/OR CONCERNS PLEASE CALL
510-882-7941 Or 1-800-686-9036

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